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 4
                             UNITED STATES DISTRICT COURT
 5                          EASTERN DISTRICT OF WASHINGTON

 6
     UNITED STATES OF AMERICA,                 No.   4:16-CR-06042-EFS
 7                                                   (ALL DEFENDANTS)
                              Plaintiff,
 8
                 v.                            ORDER GRANTING THE USAO’S MOTION
 9                                             FOR DISCLOSURE TO DEFENSE COUNSEL
     BENARO SANTIAGO BARRAGAN (1);             BUT NOT UNSEALING, MOTION FOR
10   JULIO CESAR AYALA (2);                    PROTECTIVE ORDER, AND RELATED
     and FRANCISCO JAVIER SANTES               MOTIONS TO EXPEDITE
11   GARCIA(3),

12                            Defendants.

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14         Before the Court, without oral argument, is the United States

15   Attorney’s Office’s (USAO) Motion to Disclose Pre-Indictment Pleadings

16   for Discovery but not Unsealing and for Protective Order, ECF No. 66.

17   The USAO seeks permission to disclose certain sealed documents to

18   defense counsel without unsealing the documents and to set parameters

19   for the parties’ use of sealed documents during discovery and court

20   hearings. ECF No. 66.      The USAO represents that the sealed documents

21   pertain to an ongoing investigation and there is a need to protect the

22   safety and security of any confidential informants. ECF No. 66.

23         The investigation that resulted in the Indictment in this case

24   involved a number of warrants filed under seal with a magistrate judge.

25   ECF No. 66.      Although these documents should remain sealed to protect

26   any   confidential    informants   and   to   avoid   jeopardizing   an   ongoing




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 1   investigation, Defendants and their counsel must have access to these

 2   documents to prepare their defense.       Therefore, the Court finds good

 3   cause to grant the USAO’s motion and order that the search warrants in

 4   the following case numbers be disclosed to defense counsel but remain

 5   sealed to the public:

 6        A. 4:16-mj-07128-MKD,

 7        B. 4:16-mj-07129-MKD,

 8        C. 4:16-mj-07144-MKD,

 9        D. 4:16-mj-07146-MKD,

10        E. 4:16-mj-07160-MKD,

11        F. 4:16-mj-07161-MKD,

12        G. 4:16-mj-07162-MKD,

13        H. 4:16-mj-07163-MKD,

14        I. 4:16-mj-07165-JTR,

15        J. 4:16-mj-07166-JTR,

16        K. 4:16-mj-07167-JTR,

17        L. 4:16-mj-07168-JTR,

18        M. 4:16-mj-07169-JTR.

19        The Court also finds good cause to grant the USAO’s request for a

20   protective order related to the dissemination of discovery as set forth

21   below.    The parties are expected to be vigilant in protecting the

22   identity of any confidential informants referenced in sealed documents.

23        Accordingly, IT IS HEREBY ORDERED:

24        1.     The USAO’s Motion to Disclose Pre-Indictment Pleadings for

25               Discovery but not Unsealing and for Protective Order, ECF

26               No. 66, is GRANTED.




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 1        2.     A protective order is ENTERED, as follows:

 2               A.   The USAO will provide discovery materials (including

 3                    Protected Discovery) on an ongoing basis to defense

 4                    counsel;

 5               B.   Defense counsel may possess but not copy (excluding the

 6                    production of necessary working copies) the discovery

 7                    materials, including sealed documents;

 8               C.   Defense counsel may show to, and discuss with, the

 9                    Defendants the discovery material, including sealed

10                    documents;

11               D.   Defense counsel shall not provide original or copies

12                    of discovery materials directly to the Defendants;

13               E.   Defense counsel shall not otherwise provide original

14                    or copies of the discovery material to any other person,

15                    including subsequently appointed or retained defense

16                    counsel, but excluding any staff of defense counsel or

17                    investigator and/or expert engaged by defense counsel,

18                    who will also be bound by the terms and conditions of

19                    the protective order;

20               F.   The   USAO    and   defense   counsel    may   reference   the

21                    existence and content of sealed discovery material in

22                    open and closed court proceedings relevant to this

23                    cause.     Any reference to the content of the Protected

24                    Discovery shall be filed under seal, until further

25                    order of the Court.

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 1                    G.      The parties may seek relief from this Order for good

 2                            cause shown.

 3           IT IS SO ORDERED.              The Clerk’s Office is directed to enter this

 4   Order and provide copies to all counsel and Magistrate Judge Dimke.

 5           DATED this         _14th     day of November 2016.

 6
                                       _s/Edward F. Shea
 7                                         EDWARD F. SHEA
                                Senior United States District Judge
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